             Case 3:18-cv-02670-JSC Document 11 Filed 10/04/18 Page 1 of 3



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     Attorneys for Plaintiff
8

9                               UNITED STATES DISTRICT COURT
10
                            NORTHERN DISTRICT OF CALIFORNIA
11

12
                                               )    Case No.
13      ABANTE ROOTER AND                      )
14
        PLUMBING INC, individually             )
       and on behalf of all others             )     3:18-cv-02670-JSC
15     similarly situated,                     )
16                                             )    NOTICE OF DISMISSAL OF
       Plaintiff,                              )    ACTION WITH PREJUDICE AS
17                                                  TO THE NAMED PLAINTIFF
                                               )
18     vs.                                     )    AND WITHOUT PREJUDICE AS
       MERCHANT DIRECT LLC dba                 )    TO THE PUTATIVE CLASS
19
       ROYAL PUBLIC FUNDING,                   )
20      And DOES 1 through 10,                 )
21     inclusive, and each                     )
       of them,                                )
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                                               )
23     Defendant.                              )
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                                    Notice of Dismissal - 1
             Case 3:18-cv-02670-JSC Document 11 Filed 10/04/18 Page 2 of 3



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           NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
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4    Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case with
5
     prejudice as to all of their individual claims and without prejudice as to the claims
6

7    of any putative class member. Each party shall bear their own costs and attorneys’
8
     fees. Defendant has neither answered Plaintiff’s Complaint, nor filed a motion for
9
     summary judgment. Accordingly, this matter may be dismissed with prejudice and
10

11   without an Order of the Court.
12
           RESPECTFULLY SUBMITTED this October 4, 2018.
13

14
                               By:
15

16
                                                    /s/Todd M. Friedman
                                                      Todd M. Friedman ESQ.
17                                              Law Offices of Todd M. Friedman,P.C.
18                                                   Attorney For Plaintiff
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                                        Notice of Dismissal - 2
             Case 3:18-cv-02670-JSC Document 11 Filed 10/04/18 Page 3 of 3



1
     CERTIFICATE OF SERVICE
2
     Filed electronically on October 4, 2018 with:
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4    United States District Court CM/ECF system
5
     Notification sent electronically on October 4, 2018 to:
6

7    To the Honorable Court, all parties and their Counsel of Record
8

9                                                      By: /s/Todd M. Friedman
                                                        Todd M. Friedman ESQ.
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                                       Notice of Dismissal - 3
